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     Attorney for Defendant
 6   WALTER LEE DAWSON
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. 2:98-cr-00431 KJM
                                     )
12                  Plaintiff,       )      STIPULATED MOTION AND ORDER TO
                                     )      REDUCE SENTENCE PURSUANT TO 18
13        v.                         )      U.S.C. § 3582(c)(2)
                                     )
14   WALTER LEE DAWSON,              )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )      Judge: Honorable Kimberly J.
16   _______________________________ )      Mueller
17        Defendant, WALTER LEE DAWSON, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, First Assistant U.S.
20   Attorney PHILLIP A. TALBERT, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   On July 23, 2001, this Court sentenced Mr. Dawson to a term
27   of imprisonment of 180 months;
28        3.   On July 10, 2008, the parties filed a stipulation providing
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 1   that the sentencing range applicable to Mr. Dawson was subsequently
 2   lowered by the United States Sentencing Commission in Amendment 706 by
 3   two levels, from 38 to 36, and a sentence at the low end of the new
 4   guideline range with a departure comparable to the reduction he
 5   received at the original sentencing would be 162 months.
 6        4.      On July 15, 2008, the Court issued an order reducing Mr.
 7   Dawson’s sentence from 180 months to 162 months.
 8        5.      The sentencing range applicable to Mr. Dawson was
 9   subsequently lowered by the United States Sentencing Commission in
10   Amendment 750, from 36 to 34, and a sentence at the low end of the new
11   guideline range with a departure comparable to the reduction he
12   received at the original sentencing would be 131 months;
13        6.      Accordingly, the parties request the court enter the order
14   lodged herewith reducing Mr. Dawson’s term of imprisonment to an
15   aggregate term of 131 months on all counts, comprised of 131 months as
16   to Count 1 and 48 months as to Count 2, to run concurrently for a total
17   term of 131 months.
18   Dated:     October 31, 2011
19   Respectfully submitted,
20   BENJAMIN WAGNER                           DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
21
22
       /s/ Phillip A. Talbert                     /s/ David M. Porter
23   PHILLIP A. TALBERT                        DAVID M. PORTER
     First Assistant U.S. Attorney             Assistant Federal Defender
24
     Attorney for Plaintiff                    Attorney for Movant
25   UNITED STATES OF AMERICA                  WALTER LEE DAWSON
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 1                                           ORDER
 2        This matter came before the court on the stipulated motion of the
 3   defendant for reduction of sentence based on 18 U.S.C. § 3582(c)(2).
 4   On July 23, 2001, this court sentenced Mr. Dawson to a term of
 5   imprisonment of 180 months.        On July 15, 2008, the court resentenced
 6   Mr. Dawson to a term of imprisonment of 162 months.             The parties agree,
 7   and the court finds, that Mr. Dawson is entitled to the benefit of the
 8   retroactive amendment reducing crack cocaine penalties, which reduces
 9   the applicable offense level from 36 to 34.
10        IT IS HEREBY ORDERED that the term of imprisonment is reduced to
11   an aggregate term of 131 months on all counts, comprised of 131 months
12   as to Count 1 and 48 months as to Count 2, to run concurrently for a
13   total term of 131 months.
14        IT IS FURTHER ORDERED that all other terms and provisions of the
15   original judgment remain in effect.
16        Unless otherwise ordered, Mr. Dawson shall report to the United
17   States Probation office closest to the release destination within
18   seventy-two hours after his release.
19   Dated:     November 1, 2011.
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                                             UNITED STATES DISTRICT JUDGE
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